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 1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
 2
       -----------------------------------------------------------
 3                                       )
        United States of America,        ) File No. 19-CR-337
 4                                       )           (WMW/HB)
                Plaintiff,               )
 5                                       )
        vs.                              ) St. Paul, Minnesota
 6                                       ) October 8, 2020
        Samuel Lamar Brantley,           ) 9:17 a.m.
 7                                       )
                Defendant.               )
 8                                       )
       -----------------------------------------------------------
 9
                 BEFORE THE HONORABLE WILHELMINA M. WRIGHT
10                   UNITED STATES DISTRICT COURT JUDGE

11                          (CHANGE OF PLEA HEARING)

12
       APPEARANCES
13      For the Plaintiff:            U.S. Attorney's Office
                                      SAMANTHA H. BATES, AUSA
14                                    W. ANDERS FOLK, AUSA
                                      600 U.S. Courthouse
15                                    300 South Fourth Street
                                      Minneapolis, Minnesota 55415
16
        For the Defendant:            ROBERT D. SICOLI, ESQ.
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                                      2136 Ford Parkway
18                                    St. Paul, Minnesota 55116

19      Court Reporter:               LORI A. SIMPSON, RMR-CRR
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20                                    316 North Robert Street
                                      St. Paul, Minnesota 55101
21

22

23

24
           Proceedings reported by court reporter; transcript
25     produced by computer.



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 1                           P R O C E E D I N G S

 2                                IN OPEN COURT

 3          (Defendant present)

 4                 COURTROOM DEPUTY:    The matter before the Court is

 5     Case No. 19-CR-337, United State of America vs. Samuel Lamar

 6     Brantley.

 7                 Counsel, please note your appearance for the

 8     record.

 9                 MS. BATES:    Good morning.    Samantha Bates and

10     Anders Folk for the United States.

11                 THE COURT:    Good morning.

12                 MR. SICOLI:    Good morning, Your Honor.     Robert

13     Sicoli on behalf of Mr. Brantley.

14                 THE COURT:    Thank you.   Good morning, Mr. Sicoli.

15     Good morning, Mr. Brantley.

16                 THE DEFENDANT:    Good morning, ma'am.

17                 THE COURT:    So we are here for a guilty plea

18     hearing today.

19                 As an initial matter, I would like to remind

20     everybody that you should keep your face masks on while

21     you're in the courtroom.      Certainly counsel or other

22     participants may temporarily remove them while you're

23     addressing the Court provided that you are appropriately

24     distanced from the people who are around you.

25                 To begin with, if there is anything that I say



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 1     today, Mr. Brantley, that you do not hear or you do not

 2     understand, please tell me so that I can clarify it for you.

 3     And it's really important that you not answer a question

 4     that confuses you or that you don't hear clearly.

 5                  I will be asking you many times if you understand

 6     something.    So please don't tell me that you understand

 7     something unless you truly understand it and don't have any

 8     questions about it.       Okay?

 9                  THE DEFENDANT:       Yes, ma'am.

10                  THE COURT:    All right.     And if you tell me that

11     you don't understand something, either I will explain it for

12     you or your counsel or one of the Assistant U.S. Attorneys

13     will explain it.    Okay?

14                  THE DEFENDANT:       Okay.

15                  THE COURT:    All right.     Now, because this is your

16     first appearance before me in connection with the charges

17     against you, I must advise you of several important matters.

18                  First of all, you've been charged with two counts

19     of armed robbery, two counts of carrying a firearm during

20     and in relation to a crime of violence, conspiracy to commit

21     armed robbery, and disposing of a firearm to a felon.         These

22     are all felony offenses that you've been charged with.

23                  Now, you have the right to be represented by an

24     attorney during these proceedings and that right includes

25     the right to be represented by an attorney whom you hire; or



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 1     if you cannot afford to hire an attorney, you have the right

 2     to have an attorney appointed to represent you at no cost to

 3     you.

 4                You also have the right to remain silent.          You

 5     don't have to answer any of my questions today.         And if you

 6     begin to answer one of my questions, you can stop at any

 7     time and decide not to say anything more.

 8                It's important for you to understand that any

 9     statement that you make, anything that you say today may be

10     used against you.     Do you understand that?

11                THE DEFENDANT:     Yes, ma'am.

12                THE COURT:    Now, are you a United States citizen,

13     Mr. Brantley?

14                THE DEFENDANT:     Yes.

15                THE COURT:    Okay.   And have you received a copy of

16     the Indictment?    The Indictment is the document that

17     contains the written charges that the government has made

18     against you.

19                THE DEFENDANT:     Yes, I have.

20                THE COURT:    Okay.   And have you read the

21     Indictment?

22                THE DEFENDANT:     Yes, ma'am.

23                THE COURT:    Okay.   And has Mr. Sicoli explained

24     the charges that are alleged against you and answered your

25     questions about those charges?



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 1                  THE DEFENDANT:   Yes, he has.

 2                  THE COURT:    Okay.   Mr. Sicoli, does Mr. Brantley

 3     waive his right to have the Indictment read?

 4                  MR. SICOLI:   Yes, Your Honor.

 5                  THE COURT:    Okay.   So, Mr. Brantley, before I can

 6     accept your guilty plea, I have to ask you several questions

 7     and you must answer those questions under oath.         So at this

 8     time my courtroom deputy will swear you in.

 9                  COURTROOM DEPUTY:     Please raise your right hand.

10          (Defendant sworn)

11                                 EXAMINATION

12     BY THE COURT:

13     Q.   So, Mr. Brantley, you understand now you are under oath.

14     Because you are under oath, if you say anything that is not

15     true, you could be prosecuted for a separate crime and that

16     crime is perjury, and the government could use any false

17     statements that you give under oath against you in that

18     prosecution.

19                  I expect you to tell the truth today, but I'm

20     telling you this because it is so important for you to

21     understand that you must be truthful in everything that you

22     say today.    Do you understand that?

23     A.   Yes, ma'am.

24     Q.   Okay.   And the most important thing for you to

25     understand is that if you plead guilty and I accept your



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 1     guilty plea, you'll not be able to change your mind and take

 2     back your guilty plea.

 3                  So if anything happens today that confuses you or

 4     that worries you, you should get the help that you need from

 5     Mr. Sicoli or from me before you plead guilty, because after

 6     you plead guilty it may be too late for you to get the help

 7     that you need.     Do you understand?

 8     A.   Yes, ma'am.

 9     Q.   Okay.   Now, if you wish to speak with Mr. Sicoli at any

10     time today, you're welcome to do so.       So if I ask a question

11     and you're not certain whether to answer that question or

12     how to answer that question, just tell me that you would

13     like to speak with Mr. Sicoli.      I will give you an

14     opportunity to do so and you will be able to do so

15     confidentially.    I won't be able to hear.      No one else will

16     be able to hear.    It will be a private conversation between

17     you and Mr. Sicoli.     And I want you to understand I don't

18     mind waiting while you're doing that.       Do you understand?

19     A.   Yes, ma'am.

20     Q.   Okay.   Now, Mr. Brantley, I'll begin by asking you a few

21     questions to make sure that you are competent to enter a

22     guilty plea today.

23                  So tell me your full name, Mr. Brantley.

24     A.   Samuel Lamar Brantley.

25     Q.   And, Mr. Brantley, have you ever used any other names?



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 1     A.   Negative.

 2     Q.   Okay.   And how old are you, Mr. Brantley?

 3     A.   I'm 33.

 4     Q.   And how far did you go in school?

 5     A.   I have two years of college.

 6     Q.   Okay.   And based on our conversation, it appears that

 7     you don't have any trouble understanding the English

 8     language.    Is that true?

 9     A.   That's true.

10     Q.   Okay.   And based on your education, you are able to

11     read, correct?

12     A.   Yes, ma'am.

13     Q.   And right now are you under the influence of any

14     alcohol?

15     A.   No, ma'am.

16     Q.   And have you had any in the last 24 hours?

17     A.   No, ma'am.

18     Q.   Okay.   And next I have some questions about drug use and

19     when I say, "drug use," I mean any kind of drug.         So that

20     includes prescription medication.       It also includes

21     over-the-counter medication that you might take.         Okay?

22     A.   Um-hmm.

23     Q.   Are you under the influence of any drug or medication at

24     this time?

25     A.   No, ma'am.



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 1     Q.   And have you taken any drug or medication in the last

 2     24 hours?

 3     A.   No, ma'am.

 4     Q.   So you're generally in good health; is that correct?

 5     A.   Yes, ma'am.

 6     Q.   And you are thinking clearly today?

 7     A.   Yes, I am.

 8     Q.   Okay.   Now, you're represented by Mr. Sicoli.       Have you

 9     fully discussed the charges against you with Mr. Sicoli?

10     A.   Yes, I have.

11     Q.   And have you told Mr. Sicoli everything that you want

12     him to know about your case?

13     A.   Yes, ma'am.

14     Q.   Okay.   Now, are you fully satisfied with the legal

15     services that you've received from Mr. Sicoli?

16     A.   Yes, ma'am.

17     Q.   Okay.

18                  THE COURT:    And, Mr. Sicoli, have you had enough

19     time to investigate the law and the facts of Mr. Brantley's

20     case and to discuss them with him?

21                  MR. SICOLI:   Yes, Your Honor.

22                  THE COURT:    And based on your discussions,

23     Mr. Sicoli, are you satisfied that Mr. Brantley understands

24     the charges against him and the punishments that he faces?

25                  MR. SICOLI:   Yes, Your Honor.



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 1                    THE COURT:    Okay.   And based on your conversations

 2     with Mr. Brantley, are you satisfied that he is competent to

 3     make the decision about whether to plead guilty today?

 4                    MR. SICOLI:   Yes, Your Honor.

 5                    THE COURT:    Okay.

 6     BY THE COURT:

 7     Q.     So, Mr. Brantley, if you enter a guilty plea, you'll be

 8     giving up a number of important rights and the law requires

 9     that I review those rights with you before you make your

10     final decision about whether to plead guilty.

11                    So, first, you have the right to plead not guilty

12     to the case and the -- I'm sorry, to the charges against

13     you.    Do you understand that?

14     A.     Yes, ma'am.

15     Q.     And you have the right to have a trial with a jury

16     that's made up of 12 citizens from this district.         Do you

17     understand?

18     A.     Yes, ma'am.

19     Q.     Okay.   Now, you also have the right to a speedy trial,

20     and what that means is that if you do want to take your case

21     to trial, your trial would be held in the next few months.

22     You would not have to wait any longer than that.         Do you

23     understand?

24     A.     Yes, ma'am.

25     Q.     Okay.   You also have the right to be represented by an



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 1     attorney at every stage of this proceeding.         So if you went

 2     to trial, that would be before trial, during trial, and

 3     after trial.      Understood?

 4     A.     Yes, ma'am.

 5     Q.     Okay.   Now, it's your right to be represented by an

 6     attorney whom you hire; or if you cannot afford to hire an

 7     attorney, you have the right to be represented by an

 8     attorney who is appointed to represent you at no cost to

 9     you.    Understood?

10     A.     Yes, ma'am.

11     Q.     Okay.   Now, if you went to trial, the government would

12     seek to prove your guilt by calling witnesses, who would

13     come here into this courtroom.       They would be sworn.      They

14     would sit in the witness stand and they would testify

15     against you.

16                    You would have the right to confront those

17     witnesses, and what that means is that you would have the

18     right, first of all, to be physically present in this

19     courtroom whenever anyone testified at your trial so that

20     you could see and you could hear that testimony for

21     yourself.      Understood?

22     A.     Yes, ma'am.

23     Q.     Okay.   It also means that your attorney, Mr. Sicoli,

24     would have the right to ask questions of anyone who

25     testified at your trial to try to show the weaknesses in



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 1     their testimony.     Understood?

 2     A.   Yes, ma'am.

 3     Q.   Okay.   Now, you also would have the right to remain

 4     silent at your trial and no one could force you to testify.

 5     The decision whether to testify or not to testify would be

 6     entirely your decision.      Do you understand that?

 7     A.   Yes, ma'am.

 8     Q.   Okay.   And if you decided not to testify, your silence

 9     could not be used against you.       So, in fact, if you wanted

10     me to, I would instruct the jurors in your case that when

11     they were deciding whether you had been proven guilty beyond

12     a reasonable doubt, they could not consider the fact that

13     you chose not to testify.      Do you understand?

14     A.   Yes, ma'am.

15     Q.   Okay.   Now, although you would not have to testify at

16     your trial or call any witnesses or present any evidence,

17     you'd have the right to do all of those things if you wished

18     to do so.

19                  So you would have the right to take the stand and

20     testify before the jury on your own behalf and tell the jury

21     your side of the story.      Do you understand that?

22     A.   Yes, ma'am.

23     Q.   Okay.   You'd also have the right to call others to

24     testify on your behalf and, in fact, you could subpoena

25     witnesses, and what that means is that you could get a court



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 1     order from me requiring someone to testify at your trial,

 2     whether that person wanted to or not.        Understood?

 3     A.   Yes, ma'am.

 4     Q.   Okay.   Now, if you did testify and if you did call

 5     witnesses or present any evidence at your trial, that would

 6     not change the burden of proof.       The government would still

 7     have the burden of proving your guilt beyond a reasonable

 8     doubt.    Understood?

 9     A.   Yes, ma'am.

10     Q.   Okay.   And if you went to trial, you could not be

11     convicted of any charge unless every single member of the

12     jury found that you had been proven guilty beyond a

13     reasonable doubt.     So, in other words, any guilty verdict

14     would have to be unanimous, all 12 jurors would have to

15     agree.    Do you understand that?

16     A.   Yes, ma'am.

17     Q.   Now, at trial, if you went to trial, you would be

18     presumed innocent and I would instruct the jurors that they

19     must presume that you are innocent.        Do you understand that?

20     A.   Yes, I do.

21     Q.   Okay.   So the burden would be on the United States or

22     the government to prove your guilt.        It would not be on you

23     to prove your innocence.      Understood?

24     A.   Yes, ma'am.

25     Q.   Okay.   And not only would the burden be on the



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 1     government to prove your guilt, but the government would

 2     have to prove your guilt beyond a reasonable doubt.

 3     Understood?

 4     A.   Yes, ma'am.

 5     Q.   Okay.    You wouldn't have to prove anything at your

 6     trial, Mr. Brantley, and, in fact, I would instruct the

 7     jurors that unless they were convinced of your guilt beyond

 8     a reasonable doubt, they would have to find you not guilty.

 9     Do you understand that?

10     A.   Yes, ma'am.

11     Q.   Okay.    Now, finally, if you plead guilty and I accept

12     your guilty plea, you'll stand convicted of the charge that

13     you plead guilty to and you will not receive a trial on that

14     charge and you'll be giving up or you will give up all of

15     the other rights that I have just described.

16                  So do you understand that if you plead guilty and

17     I accept your guilty plea, you'll be giving up all of the

18     rights that I just reviewed with you?

19     A.   Yes, ma'am.

20     Q.   Okay.    So, Mr. Brantley, I understand that you're here

21     to plead guilty to Counts 1, 2, 3, 5, and 7 of the

22     Indictment.    So we'll review now the nature of those

23     charges.

24                  Count 1 of the Indictment charges you with armed

25     bank robbery and that's in violation of Title 18, United



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 1     States Code, Sections 2113(a) and 2113(d).        Now, for you to

 2     be convicted of this charge, the government would have to

 3     prove beyond a reasonable doubt four elements:

 4                  First, the government would have to prove beyond a

 5     reasonable doubt that on February 18th you, Mr. Brantley,

 6     took approximately $9,816 in United States currency from the

 7     person and presence of victim tellers while that United

 8     States currency was in the care or custody of Lake Area Bank

 9     in White Bear Lake, Minnesota.       That's the first element.

10                  The second is that that taking was by force,

11     violence, and intimidation.

12                  Third, Mr. Brantley, you put the lives of the

13     victim tellers in jeopardy by the use of a dangerous weapon

14     while taking approximately $9,816 in United States currency.

15                  And then, fourth, that the deposits of the Lake

16     Area Bank in White Bear Lake, Minnesota were insured by the

17     Federal Deposit Insurance Corporation at the time of the

18     armed bank robbery.

19                  So that's Count 1.    Any questions about that?

20     A.   No, ma'am.

21     Q.   Okay.

22                  THE COURT:   Counsel?

23                  MS. BATES:   Your Honor, I'm sorry.     I believe that

24     you said February 18th, but it's actually, just for clarity,

25     February 22nd of 2018.



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 1                  THE COURT:   Thank you.

 2                  MS. BATES:   Thank you.

 3                  THE COURT:   That's correct.    Let's make sure that

 4     our record is clear.

 5     BY THE COURT:

 6     Q.   The offense occurred on February 22, 2018.        That's the

 7     bank robbery that you are pleading guilty to as to Count 1,

 8     correct?

 9     A.   Yes, ma'am.

10     Q.   Okay.

11                  THE COURT:   Thank you, Counsel.

12     BY THE COURT:

13     Q.   Now, as to Count 2 of the Indictment, it charges you

14     with armed bank robbery, in violation of Title 18, United

15     States Code, Sections 2113(a) and 2113(d).        And for you to

16     be convicted of that charge, the government would have to

17     prove beyond a reasonable doubt four elements:

18                  The first element being that on May 4, 2018,

19     Mr. Brantley, you took approximately $88,618 in United

20     States currency from the person and presence of victim

21     tellers while that United States currency was in the care

22     and custody of Bremer Bank in Brooklyn Center, Minnesota.

23                  The second element is that such taking was by

24     force, violence, and intimidation.

25                  Third, Mr. Brantley, you put the lives of the



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 1     victim tellers in jeopardy by the use of a dangerous weapon

 2     while taking that approximately $88,618 in United States

 3     currency.

 4                  And, fourth, that the deposits of Bremer Bank in

 5     Brooklyn Center, Minnesota were at the time, May 4, 2018,

 6     insured by the Federal Deposit Insurance Corporation.

 7                  Are there any questions about Count 2?

 8     A.   No, ma'am.

 9     Q.   Now, Count 3 of the Indictment charges you with

10     carrying a firearm during and in furtherance of a crime of

11     violence, in violation of Title 18, United States Code,

12     Section 924(c)(1)(A)(ii).      And for you to be convicted of

13     this charge, the government would have to prove beyond a

14     reasonable doubt:

15                  First, that on or about February 22, 2018 you,

16     Mr. Brantley, committed the crime of bank robbery at Lake

17     Area Bank in White Bear Lake, Minnesota.

18                  And, two, that you knowingly brandished a firearm

19     in furtherance of that bank robbery.

20                  Any questions about Count 3, Mr. Brantley?

21     A.   No, ma'am.

22     Q.   Okay.   Count 5 of the Indictment charges you with

23     conspiracy to commit armed bank robbery and that's a

24     violation of Title 18, United States Code, Sections 2113(a),

25     2113(d), and 371.     For you to be convicted of this charge,



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 1     the government would have to prove beyond a reasonable doubt

 2     four elements:

 3                  First, on or before February 22, 2018 and

 4     continuing through at least on or about May 4, 2018 you and

 5     at least one other person reached an agreement to commit the

 6     crimes of bank robbery.

 7                  Two, you, Mr. Brantley, voluntarily and

 8     intentionally entered into the agreement either at the time

 9     it was first reached or at some later time while the

10     agreement was still in effect.

11                  Third, at the time you joined in the agreement,

12     you knew the purpose of the agreement.

13                  And, fourth, while that agreement was in effect, a

14     person or persons who had joined in the agreement knowingly

15     committed one or more of the acts -- or acts for the purpose

16     of carrying out or carrying forward that agreement.

17                  Do you understand those elements of Count 5, which

18     is conspiracy to commit bank robbery?

19     A.   Yes, ma'am.

20     Q.   Okay.   And then Count 7 of the Indictment charges

21     you with disposing a firearm to a felon, in violation of

22     Title 18, United States Code, Sections 922(d)(1) and

23     924(a)(2).    Now, for you to be convicted of this charge, the

24     government would have to prove beyond a reasonable doubt

25     three elements:



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 1                  The first element is that on or about May 22, 2018

 2     you, Mr. Brantley, knowingly disposed of firearms,

 3     specifically a Glock 27 handgun and a Heckler & Koch

 4     handgun, to an individual known to you and identified in the

 5     plea agreement as "the Shooter."

 6                  Second, that this individual identified in the

 7     plea agreement as "the Shooter" was convicted of a felony,

 8     which is a crime punishable by imprisonment for a term of

 9     more than one year.

10                  And, three, that at the time of the disposal you,

11     Mr. Brantley, knew or had reasonable cause to believe that

12     the person identified in the plea agreement as "the Shooter"

13     was a convicted felon.

14                  Now, do you understand that these are the charges

15     against you to which you wish to plead guilty?

16     A.   Yes, ma'am.

17     Q.   Okay.   I want to review with you, then, the penalties

18     that you'll be facing if you plead guilty to Counts 1, 2, 3,

19     5, and 7.

20                  First imprisonment.    As to Count 1, which is armed

21     bank robbery, up to a maximum of 25 years.        As to Count 2,

22     armed bank robbery, again up to a maximum of 25 years.          As

23     to Count 3, carrying a firearm in furtherance of a crime of

24     violence, there's a mandatory minimum term of seven years up

25     to a maximum term of life imprisonment.        As to Count 5,



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 1     which is conspiracy to commit armed bank robbery, the

 2     maximum penalty for imprisonment would be ten years.           And as

 3     to disposing of a firearm to a felon, up to a maximum of ten

 4     years' imprisonment.

 5                  Now, as to supervised release for the offenses,

 6     that I'll review.     First, for the armed bank robbery which

 7     is Count 1, that's up to a maximum of five years' supervised

 8     release.     For Count 2, also armed bank robbery, up to five

 9     years of supervised release.       As to Count 3, carrying a

10     firearm in furtherance of a crime of violence, up to a

11     maximum of five years' supervised release.        As to Count 5,

12     which is conspiracy to commit armed bank robbery, up to a

13     maximum of three years' supervised release.         And as to

14     Count 7, which is disposing of a firearm to a felon, up to a

15     maximum of three years' supervised release.

16                  Do you have any questions about the supervised

17     release terms that you are exposed to in this case?

18     A.   No, ma'am.

19     Q.   Okay.    Now let's move to the fines.     As to Count 1, the

20     maximum fine is $250,000.      I could impose a fine for

21     Count 2, which is armed bank robbery, up to $250,000.           As to

22     Count 3, the maximum fine -- Count 3 being carrying a

23     firearm in furtherance of a crime of violence -- up to

24     $250,000.    As to Count 5, conspiracy to commit armed bank

25     robbery, the maximum potential fine is $250,000.         And as to



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 1     Count 7, disposing of a firearm to a felon, you could be

 2     fined up to $250,000.

 3                  Any question about that at this time,

 4     Mr. Brantley?

 5     A.   No, ma'am.

 6     Q.   Now, there is a mandatory special assessment of $100 per

 7     count and that's due at the time of sentencing.

 8                  Also, under the Mandatory Victim Restitution Act,

 9     I'm required to order you to pay restitution to the victims

10     of your crime.

11                  I also could order you to forfeit the property

12     that's described in the forfeiture section of the Indictment

13     and in paragraph 11 of the plea agreement.

14                  And, finally, I could order you to pay the costs

15     of prosecuting you.

16                  So, Mr. Brantley, do you understand that these are

17     the penalties that might be imposed if you plead guilty to

18     these offenses?

19     A.   Yes, ma'am.

20     Q.   Okay.   Now, I mentioned supervised release as a penalty,

21     and I'll explain what supervised release is now.         Supervised

22     release is what happens after a person convicted of a crime

23     is released from prison.

24                  So first I'll decide how long you must serve on

25     supervised release, and I'll also decide what conditions you



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 1     must follow while you're on supervised release.

 2                  Now, if you were to violate any of the conditions

 3     of your supervised release, you could be sent back to prison

 4     and kept in prison for up to the full length of your term of

 5     supervised release without getting any credit for the time

 6     that you had already served on supervised release prior to

 7     your violation.     Do you understand that?

 8     A.   Yes, ma'am.

 9     Q.   Okay.    And I need to also advise you that there is no

10     parole in our prison system, in the federal prison system.

11     So if you are sentenced to prison, you will have to serve

12     your full sentence.     You will not be released early on

13     parole.    Do you understand that?

14     A.   Yes, ma'am.

15     Q.   Okay.    And also because you are a United States citizen

16     and you've been charged with a felony offense, if you plead

17     guilty to any felony offense, you may lose your rights to

18     vote, to hold public office, to serve on a jury, and to

19     possess certain types of weapons, including a firearm or

20     ammunition.    Do you understand that?

21     A.   Yes, ma'am.

22     Q.   Okay.    So I understand that you've entered into a plea

23     agreement with the United States.       Is that correct,

24     Mr. Brantley?

25     A.   That's correct.



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 1     Q.   Okay.   Have you read the plea agreement?

 2     A.   Yes, ma'am.

 3     Q.   And has Mr. Sicoli carefully gone through the plea

 4     agreement with you and explained the terms of the plea

 5     agreement?

 6     A.   Yes, he has.

 7     Q.   And has he answered all of your questions about the plea

 8     agreement?

 9     A.   Yes.    Yes, ma'am.

10     Q.   Okay.   And do you, Mr. Brantley, believe that you

11     understand the terms of the plea agreement?

12     A.   Yes, ma'am.

13     Q.   Okay.   So I will review with you some of the terms of

14     the plea agreement now, not all of them.

15                  Now, if you plead guilty, you'll give up your

16     right to file any motions before trial, and those would be

17     motions or requests asking me to rule that certain evidence

18     can't be used against you.      Do you understand that?

19     A.   Yes, ma'am.

20     Q.   Okay.   And your plea agreement provides that you accept

21     responsibility for your criminal conduct, which may entitle

22     you to a reduction in your guidelines offense level so long

23     as you continue to cooperate with this process and provide

24     requested information as it relates to the charged criminal

25     conduct, that being the conduct that's described in the plea



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 1     agreement.

 2                  Now, the government has indicated it will

 3     recommend a two-level reduction and will move for an

 4     additional one-level reduction so long as you continue to

 5     accept responsibility and cooperate with this process.

 6                  So, Mr. Brantley, do you understand that it is

 7     entirely up to the government or the United States to decide

 8     whether to make a motion for a reduction based on your

 9     acceptance of responsibility for your criminal conduct?

10     A.   Yes, ma'am.

11     Q.   Okay.   And do you also understand that even if you

12     believe you've satisfied the requirements for a reduction,

13     the government might disagree and choose not to make that

14     motion; you understand that?

15     A.   Yes, ma'am.

16     Q.   Okay.   And do you also understand that even if the

17     government does move for a reduction, I might deny the

18     motion and decide not to reduce your sentence; you

19     understand that's a possibility?

20     A.   Yes, ma'am.

21     Q.   Okay.   And, again, do you understand that no matter what

22     happens as it relates to your acceptance of responsibility,

23     you will not be able to withdraw or take back your guilty

24     plea; understood?

25     A.   Yes, ma'am.



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 1     Q.   Okay.   Now, after I impose the sentence, the government

 2     will have a right to appeal that sentence if the government

 3     thinks that I made a mistake or gave you a sentence that was

 4     too short.    Do you understand that?

 5     A.   Say that again, please.

 6     Q.   Okay.   So after I impose your sentence, the government

 7     will have the right to appeal your sentence if the

 8     government thinks that I made a mistake or if the government

 9     thinks that I sentenced you to a term of imprisonment that

10     was too short.     Do you understand that?

11     A.   Yes, ma'am.

12     Q.   Okay.   And also a defendant in a criminal case normally

13     has the right to appeal a sentence if that defendant thinks

14     that I made a mistake or gave a sentence that was too long.

15     But in your plea agreement you agreed that if I sentence you

16     to serve 162 months of imprisonment or a shorter length of

17     time, you will not have the right to appeal your sentence.

18     It's only if I impose a sentence of more than 162 months'

19     imprisonment that you'll have the right to appeal your

20     sentence.    Do you understand those limitations on your right

21     to appeal your sentence?

22     A.   Yes, ma'am.

23     Q.   Okay.   Now, finally, the government has agreed that if

24     you plead guilty to Counts 1, 2, 3, 5, and 7, the government

25     will move to dismiss Counts 4 and 6 when you're sentenced on



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 1     Counts 1, 2, 3, 5, and 7.      So if that occurs, the judgment

 2     in this case will include a dismissal of Counts 4 and 6.       Do

 3     you understand that?

 4     A.   Yes, ma'am.

 5     Q.   Okay.

 6                  THE COURT:   Now, at this time, Ms. Bates --

 7                  MS. BATES:   Yes, Your Honor.

 8                  THE COURT:   -- I'll ask you to review with

 9     Mr. Brantley the guidelines calculations that are contained

10     in the plea agreement and any other important provisions of

11     the plea agreement that I haven't already covered other than

12     the factual basis, and I'll ask you to establish the factual

13     basis a little bit later in the hearing.

14                  MS. BATES:   Thank you, Your Honor.

15                  THE COURT:   You're welcome.

16                                EXAMINATION

17     BY MS. BATES:

18     Q.   Good morning, Mr. Brantley.

19     A.   Good morning.

20     Q.   We're just going to go over some of the guideline

21     calculations.     They start on page 7 of the plea agreement.

22     Okay?

23     A.   Okay.

24     Q.   Have you had a chance to thoroughly go over these

25     guideline calculations with Mr. Sicoli?



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 1     A.   Yes, I have.

 2     Q.   And did he go over the fact that you're being sentenced

 3     in accordance with the Federal Sentencing Act and the United

 4     States Sentencing Guidelines with you?

 5     A.   Yes, ma'am.

 6     Q.   And did he go over the fact that some of these counts

 7     group together to come to a cumulative base offense level?

 8     A.   Yes.

 9     Q.   And that cumulative base offense level was 30, correct?

10     A.   Yes.

11     Q.   And do you understand how the counts group together to

12     come to the base offense level of 30 and agree with that

13     base offense level?

14     A.   Yes, I do.

15     Q.   Then after you take that base offense level of 30,

16     assuming that you proceed and cooperate with all of the

17     rules laid out in this plea agreement, you will receive,

18     most likely, two points off for acceptance as well as an

19     additional point off at sentencing if the United States

20     moves for those points.      Do you understand that?

21     A.   Yes, I do.

22     Q.   Assuming that that happens, then your base offense level

23     will be 27.    Do you agree with that?

24     A.   Yes, ma'am.

25     Q.   Now, did Mr. Sicoli go through the criminal history



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 1     category with you?

 2     A.   Yes.

 3     Q.   And the plea agreement states that the parties both

 4     believe that your Criminal History Category is I, correct?

 5     A.   Yes, ma'am.

 6     Q.   Now, you understand that that's what the parties

 7     believe, but there is a chance that the parties could be

 8     wrong, correct?

 9     A.   That's correct.

10     Q.   And in the end it's going to be up to the Court to

11     decide what your criminal history category is, you

12     understand that?

13     A.   Yes, I do.

14     Q.   Now, if we take the base offense level for Counts 1, 2,

15     and 5, which was 27, and then we take your criminal history

16     category, the guideline range for those counts is 70 to 87

17     months' imprisonment.      Do you understand that and agree with

18     that?

19     A.   Yes, I do.

20     Q.   Now, Count 3 is a little bit different.        And I'm sure

21     that Mr. Sicoli went over Count 3 with you, correct?

22     A.   Yes, that's correct.

23     Q.   Now, Count 3 has a statutory mandatory minimum sentence

24     of 84 months and that's going to run consecutive to the

25     guideline range for the other counts, and what that means is



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 1     it's going to come after, they are going to go one after the

 2     other.    Do you understand that?

 3     A.   Yes.

 4     Q.   That results in a total guideline range of 154 to 171

 5     months' imprisonment.      Do you agree with that, Mr. Brantley?

 6     A.   Yes.

 7     Q.   Do you feel that you have had adequate time to go over

 8     these guideline calculations with your attorney?

 9     A.   Yes.

10     Q.   Thank you.

11                 Now, based on those guideline ranges and the

12     adjusted offense level, the fine is going to be 25,000 to

13     250,000 dollars.     Do you understand that?

14     A.   Yes.

15     Q.   And, of course, in the end it's going to be up to the

16     Court to decide what your fine will be or if you will get a

17     fine.

18                 And then supervised release, which the Court

19     already thoroughly went over, the range is going to be at

20     least two years, but not more than five years.         Does that

21     sound right to you?

22     A.   Yes, ma'am.

23     Q.   Now, another thing to note is that in this plea

24     agreement both parties have reserved the right to make

25     departure motions and to oppose any motions made by the



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 1     opposing party, which means that at sentencing the United

 2     States could ask the judge to vary from the guidelines

 3     range, but so could you and Mr. Sicoli.        Does that make

 4     sense to you?

 5     A.   Yes, it does.

 6     Q.   Now, notwithstanding that, the one thing that is

 7     statutory that no one has any control over is the 84 months

 8     for Count 3 and the fact that those 84 months have to run

 9     consecutive to any other months of imprisonment imposed.          Do

10     you understand that?

11     A.   Yes, I do.

12     Q.   Now, it's important to note, and I think we've already

13     gone over this, that in the end, all of this is going to be

14     up to Judge Wright.     So in the end the Court is going to get

15     the presentence investigation and then she's going to be the

16     one making the final determination.        You understand that?

17     A.   Yes, I do.

18     Q.   There are a couple of other things that I want to go

19     over, and the first one is paragraph 7 in the plea agreement

20     and that just says that in return for your guilty plea

21     today, as set forth in our plea agreement, the United States

22     is agreeing not to charge you with any additional crimes

23     based on any conduct that is known to the United States as

24     of today.    Do you understand that?

25     A.   Yes, I do.



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 1     Q.     And then I want to move to paragraph 8 and in

 2     paragraph 8 it goes over some agreements that were made

 3     between you, the United States, and Ramsey County Attorney's

 4     Office and Hennepin County Attorney's Office, correct?

 5     A.     Um-hmm.

 6     Q.     And did you go over those with Mr. Sicoli?

 7     A.     Yes.

 8     Q.     What those agreements are is that if you plead guilty

 9     today as set forth in the agreement, those other two

10     counties will not bring criminal charges against you for any

11     criminal acts associated with Counts 1 through 3, 5, and 7

12     and an additional robbery in Brooklyn Park, Minnesota that

13     took place on March 23, 2018.       Does that sound correct to

14     you?

15     A.     Yes.

16     Q.     Now, Judge Wright already went over your appellate

17     waiver with you.       Did that make sense to you?    You

18     understood that you were waiving your right to an appeal

19     unless you were sentenced to more than 162 months?

20     A.     Yes, it did.

21     Q.     And you're also waiving the right to file a

22     collateral -- a post-conviction collateral attack?

23     A.     What is that?

24     Q.     Did Mr. Sicoli go over a 2255 motion with you?

25     A.     No, he didn't.



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 1                  MS. BATES:    Mr. Sicoli, do you want to take a few

 2     minutes to go over that with him or --

 3                  MR. SICOLI:    I can go over it with him on the

 4     record because we had some discussion about it.         I think he

 5     is just confused about the statute number.

 6                  THE COURT:    Thank you, Mr. Sicoli.

 7                                 EXAMINATION

 8     BY MR. SICOLI:

 9     Q.   Mr. Brantley, you and I discussed the fact that you do

10     have a right -- in addition to an appeal, you usually have a

11     right to file a motion, a writ of habeas corpus, saying that

12     something was wrong in your case.         Do you understand that?

13     A.   Oh, okay.    Yeah.

14     Q.   And you understand that under this appeal waiver, you're

15     not only giving up your right to do an appeal if you get

16     less than 162 months or less, but you're also giving up the

17     right to do a collateral attack; do you understand that?

18     A.   That's what I was asking.      The "collateral attack"

19     phrase, what is it?       So is that the habeas corpus?

20     Q.   Yes, that's filing a habeas corpus.

21     A.   Okay.

22     Q.   Now, you and I discussed the fact, though, that there is

23     an exception to that and it is contained in the plea

24     agreement, that you are reserving your right to make a claim

25     of ineffective assistance of counsel if you think that I



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 1     didn't advise you correctly or did something wrong.            Do you

 2     understand that?

 3     A.   Yes, yes.

 4     Q.   So regardless of the fact that you're giving up your

 5     right to file an appeal if it's 162 months or less, you

 6     still are reserving the right both to appeal your case for

 7     ineffective assistance of counsel and also to file a writ of

 8     habeas corpus under 28 U.S.C. 2255 claiming that I did

 9     something wrong and I was ineffective.        You understand that?

10     A.   Yes, I do.

11                  MR. SICOLI:   I think that's sufficient, Your

12     Honor.

13                  THE COURT:    Thank you.

14                  MS. BATES:    Thank you.

15                  THE COURT:    Is there anything further as to the

16     factual basis or the terms of the plea agreement?

17                  MS. BATES:    You don't mean the factual basis,

18     right?

19                  THE COURT:    I'm sorry.   No.   The terms of the plea

20     agreement.

21                  MS. BATES:    One more term I would like to go over,

22     Your Honor.

23                  THE COURT:    Please.

24

25



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 1                                EXAMINATION

 2     BY MS. BATES:

 3     Q.   Mr. Brantley, you also see in paragraph 14 that you've

 4     agreed to waive the Freedom of Information and Privacy Act,

 5     correct?

 6     A.   Yes.

 7     Q.   And all that that means is that you cannot use that

 8     particular statute to try to gain information, to get info

 9     about your case.     So you can't use that civil statute to try

10     to get information about your case.        Did Mr. Sicoli go over

11     that with you?

12     A.   Yes, he did.

13     Q.   Okay.   Thank you.

14                  And then, lastly, you have agreed to a total of

15     $94,809 in restitution, correct?

16     A.   Yes.

17                  MS. BATES:   Thank you.   Nothing further, Your

18     Honor.

19                  THE COURT:   Thank you, Ms. Bates.

20                                EXAMINATION

21     BY THE COURT:

22     Q.   Now, Mr. Brantley, Ms. Bates has just reviewed with you

23     the terms of the plea agreement.       Are those the terms as you

24     understand them?

25     A.   Yes, ma'am.



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 1     Q.   And I want to be sure that you understand the impact of

 2     your plea agreement with the United States on me, so the

 3     impact on me.

 4                  First, although the United States and your

 5     attorney can make a recommendation about your sentence, I

 6     don't have to accept that recommendation and I don't have to

 7     sentence you according to the plea agreement.         Do you

 8     understand that?

 9     A.   Yes, ma'am.

10     Q.   Okay.   And your plea agreement discusses the federal

11     sentencing guidelines.      I want to explain to you how I will

12     use those guidelines.

13                  So first I'll look at the federal sentencing

14     guidelines and I will decide for myself what they recommend

15     in your case.     So what the plea agreement says about the

16     sentencing guidelines, that's not binding on me.         Do you

17     understand that?

18     A.   Yes, ma'am.

19     Q.   Okay.   Now, I'll then look at the guidelines again

20     because sometimes the guidelines themselves recommend a

21     sentence that's either below or above that range, what we

22     call a departure.     Do you understand that?

23     A.   Yes, ma'am.

24     Q.   Okay.   And, finally, I will decide whether to follow the

25     sentencing guidelines' recommendation.        I want you to



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 1     understand it's just a recommendation.        It is not binding on

 2     me and, in fact, I'm required to consider many things in

 3     addition to the recommendation of the guidelines when I

 4     decide on your sentence.      Do you understand that?

 5     A.   Yes, ma'am.

 6     Q.   Okay.    And so you can't count on receiving a guideline

 7     sentence.    You may get a sentence that's higher than the

 8     guidelines.    You may get a sentence that's lower than the

 9     guidelines recommend.      Do you understand that?

10     A.   Yes, ma'am.

11     Q.   Okay.    And I want to make clear that as I sit here

12     today, I do not know what sentence I will impose and I won't

13     begin to consider what sentence I should impose until a

14     presentence investigation is completed and I receive that

15     presentence report about you.

16                  And so because I have no idea what sentence I will

17     impose, it's important to know and remember and to keep in

18     mind neither the lawyers nor you nor anyone else can know

19     what sentence I will impose.       Make sense?

20     A.   Yes, ma'am.

21     Q.   Okay.    It's possible that I will give you a sentence

22     that's longer than you're expecting or hoping for.             That's a

23     possibility.    And if that happens, you will not be able to

24     take back or withdraw your guilty plea.        You may be able to

25     appeal your sentence, but no matter what sentence I impose,



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 1     your guilty plea will stand.       Do you understand that?

 2     A.    Yes, ma'am.

 3     Q.    Okay.   Now, before you can plead guilty, Mr. Brantley, I

 4     have to determine whether there is a factual basis for your

 5     guilty plea and this means I have to make sure that you

 6     actually committed the crimes that you're pleading guilty

 7     to.   And so at this point I'll ask Ms. Bates to review with

 8     you the factual basis for the guilty pleas.

 9                   MS. BATES:   Thank you.

10                                 EXAMINATION

11     BY MS. BATES:

12     Q.    Mr. Brantley, we're going to start on page 2 of the plea

13     agreement and start with the factual basis for Counts 1, 2,

14     3, and 5.

15                   Is it true that on February 22, 2018 you and two

16     co-conspirators, by force, violence, and intimidation, took

17     from victim tellers approximately $9,816 in United States

18     currency belonging to Lake Area Bank in White Bear Lake,

19     Minnesota?

20     A.    That's true.

21     Q.    Is it true that prior to robbing Lake Area Bank, you and

22     your two co-conspirators cased the bank in preparation for

23     the robbery?

24     A.    That's true.

25     Q.    Is it true that during the robbery on February 22, 2018,



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 1     all three, you and the two co-conspirators, entered the

 2     bank, approached the employees, and demanded money?

 3     A.   That's true.

 4     Q.   And that each three of you were armed with handguns;

 5     however, all three of you wore face masks and gloves to

 6     conceal your identities?

 7     A.   That's correct.

 8     Q.   Is it true that all three of you brandished the handguns

 9     during the course of the robbery?

10     A.   That's correct.

11     Q.   Is it true that you specifically were armed with a

12     loaded .40-caliber Glock handgun?

13     A.   That's true.

14     Q.   Is it true that your role in the Lake Area Bank robbery

15     was to make sure that no employees made phone calls or took

16     action to alert law enforcement while the other two

17     co-conspirators took money from the bank tellers?

18     A.   That's true.

19     Q.   Is it true that, in response to these demands and

20     threats from you and your co-conspirators, the victim

21     tellers at the Lake Area Bank provided all three of you with

22     $9,816?

23     A.   Yes.

24     Q.   And then all three of you fled Lake Area Bank and threw

25     cell phones that you had taken from employees and patrons of



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 1     the bank out the window as you drove away?

 2     A.   That's true.

 3     Q.   Is it true that at the time of the robbery, Lake Area

 4     Bank was federally insured by the Federal Deposit Insurance

 5     Corporation?

 6     A.   I wouldn't exactly know that, but I would assume so.

 7     Q.   Well, I don't want you to assume anything.        If we

 8     received information that on February 22, 2018 Lake Area

 9     Bank was insured by the FDIC, would you agree with that?

10     A.   Yes, I would.    I mean, you would know better than I

11     would, I mean, as far as the insurance go.        I mean, I would

12     agree with that.

13     Q.   Thank you.

14                 Now, following that bank robbery, did you and the

15     two co-conspirators split the proceeds?

16     A.   Yes.

17     Q.   Now, on May 4, 2018 you and two co-conspirators, by

18     force, violence, and intimidation, took from victim tellers

19     $88,618 in United States currency belonging to Bremer Bank

20     in Brooklyn Center, Minnesota; is that true?

21     A.   That's true.

22     Q.   During that robbery you and one of the other

23     co-conspirators entered Bremer Bank and approached the

24     employees of the bank and demanded money, correct?

25     A.   That's correct.



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 1     Q.   Each of you were armed with handguns and each of you

 2     wore face masks and gloves, correct?

 3     A.   That's correct.

 4     Q.   The third bank robber, the third co-conspirator,

 5     remained outside in a getaway car throughout the robbery,

 6     correct?

 7     A.   Yes.

 8     Q.   That co-conspirator was able to communicate with the two

 9     of you by using walkie-talkies, correct?

10     A.   That's correct.

11     Q.   During the May bank robbery, you were armed with a

12     loaded .40-caliber Glock handgun, correct?

13     A.   That's correct.

14     Q.   Now, in response to demands and threats from you and the

15     co-conspirator, the victim tellers of the bank provided you

16     with $88,618, correct?

17     A.   That's correct.

18     Q.   After brandishing the firearms, you and two of the other

19     co-conspirators drove away from the bank, correct?

20     A.   That's correct.

21     Q.   Now, at the time of the robbery, the Bremer Bank's

22     deposits were federally insured by the Federal Deposit

23     Insurance Corporation, correct?

24     A.   Correct.

25     Q.   And you have no reason to dispute that, correct?



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 1     A.   No.

 2     Q.   You have no reason to dispute that Lake Area Bank was

 3     insured by the FDIC either, correct?

 4     A.   No, I -- no.    I mean, if you -- I mean, just because,

 5     like, I don't know.

 6     Q.   That's fine.

 7                 Following the bank robbery in May, you and the

 8     other two robbers split the proceeds, correct?

 9     A.   That's correct.

10     Q.   And later on on the evening of May 4th, you burned the

11     clothes that you wore during the bank robbery to try to

12     conceal the evidence, correct?

13     A.   That is correct.

14     Q.   Now I'm going to move on to May 22, 2018, and that's the

15     disposal of a firearm to a prohibited person, Count 7.

16                 On the evening of May 21, 2018, you were provided

17     with two handguns by an individual known to you, correct?

18     A.   That's correct.

19     Q.   You were given the two handguns by this individual after

20     hearing multiple gunshots and seeing a dead body in the

21     vicinity of your house, correct?

22     A.   That's correct.

23     Q.   The firearms included a Glock 27 handgun and a Heckler &

24     Koch handgun, correct?

25     A.   That's correct.



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 1     Q.   The next morning, on May 22, 2018, you and the

 2     individual arranged to meet so that you could return the

 3     firearms to him, correct?

 4     A.   That is correct.

 5     Q.   And you met at a Perkins restaurant in Minneapolis,

 6     Minnesota?

 7     A.   That's correct.

 8     Q.   At this meeting you returned those two handguns to the

 9     individual, correct?

10     A.   That's correct.

11     Q.   During the course of your conversation with him on

12     May 22, 2018, this individual told you that he had used

13     those two firearms to shoot a man the night before, on

14     May 21, 2018, correct?

15     A.   That is correct.

16     Q.   And you were aware that on May 21 and May 22, 2018 this

17     shooter was a convicted felon who was prohibited from

18     possessing firearms, correct?

19     A.   Correct.

20     Q.   You were also aware, from prior conversations that you

21     had with him, that he knew that he was prohibited from

22     possessing firearms because of his prior convictions,

23     correct?

24     A.   That is correct.

25     Q.   Now, you agree that you possessed those firearms on



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 1     May 21 to 22, 2018 and you acted voluntarily when you

 2     possessed them and when you gave them back to the shooter,

 3     correct?

 4     A.   Say that again.

 5     Q.   You agree that all your actions were voluntary in that

 6     situation, you voluntarily took the firearms from the

 7     shooter and then you voluntarily gave them back.         No one

 8     threatened you, correct?

 9     A.   That's correct.

10     Q.   Those two handguns were manufactured outside the state

11     of Minnesota, correct, or you would have no reason to

12     dispute that they were manufactured outside the state of

13     Minnesota?

14     A.   Yeah, that's correct.

15     Q.   Which means that they traveled into the state of

16     Minnesota prior to May 22, 2018, correct?

17     A.   Yes.

18     Q.   Now, just to clarify, all of the actions that we've gone

19     over today, Mr. Brantley, for Counts 1, 2, 3, 5, and 7, were

20     all actions that you committed voluntarily, correct?

21     A.   Say that again.

22     Q.   All of the actions that we've gone over today were

23     actions that you committed voluntarily, correct?

24     A.   Yes, ma'am.

25                  MS. BATES:   Your Honor, nothing further.



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 1                 THE COURT:    Mr. Sicoli, are there any other

 2     provisions that need to be reviewed or anything else that

 3     needs to be clarified regarding the factual basis?

 4                 MR. SICOLI:    No, Your Honor.

 5                 THE COURT:    How has the plea agreement been

 6     tendered?

 7          (Document handed to Court by courtroom deputy)

 8                 THE COURT:    Thank you.

 9     BY THE COURT:

10     Q.   I'm looking at a hard copy of the plea agreement,

11     Mr. Brantley, and I'm looking in particular at page 13 of

12     that plea agreement, which is the last page.         Now, there are

13     three signature lines, and the one in the middle has your

14     name and a signature above it.       Is that your signature, sir?

15     A.   Yes, ma'am.

16                 THE COURT:    And, Mr. Sicoli, is there anything

17     else that we should address as to the factual basis or that

18     needs to be clarified?

19                 MR. SICOLI:    No.   The only thing I would ask to

20     clarify is I think when you were asking Mr. Brantley

21     questions, I think you mentioned that the maximum penalty on

22     Count 5 was ten years.      My understanding is it should be

23     five years, Your Honor, for the conspiracy count.

24                 THE COURT:    I will stand corrected.

25     BY THE COURT:



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 1     Q.   Do you understand that that is the maximum possible

 2     penalty?

 3     A.   Yes, ma'am.    I'm just trying to find it, but I

 4     understand --

 5     Q.   Let's go to the page of the plea agreement that

 6     describes it.

 7                 MR. SICOLI:    Mr. Brantley, it's page 6.

 8                 THE DEFENDANT:    For Count 5?

 9                 THE COURT:    Yes.

10                 THE DEFENDANT:    Okay.

11                 THE COURT:    And as to the fine, would you clarify

12     that for me, Mr. Sicoli.

13                 MR. SICOLI:    Yeah.   Looking at paragraph -- or

14     page 6 on the maximum -- first of all, the maximum term for

15     the conspiracy offense is five years.        Do you understand

16     that, Mr. Brantley?

17                 THE DEFENDANT:    Yes.

18                 MR. SICOLI:    And you also understand that the

19     maximum fine is up to $250,000; is that correct?

20                 THE DEFENDANT:    Yes.

21                 MR. SICOLI:    Thank you, Your Honor.

22                 THE COURT:    Thank you.   Is there anything further

23     that needs to be addressed or clarified at this time?

24                 MR. SICOLI:    No, Your Honor.

25     BY THE COURT:



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 1     Q.   Now, Mr. Brantley, other than what's contained in that

 2     plea agreement and what I have told you, has the government

 3     or anyone else made any promises to you in order to get you

 4     to plead guilty?

 5     A.   No, ma'am.

 6     Q.   And has anyone forced you or threatened you, coerced you

 7     or done any harm to you or any other person to get you to

 8     plead guilty?

 9     A.   No, ma'am.

10     Q.   Are you planning to plead guilty today because you are,

11     in fact, guilty of the crimes to which you will plead

12     guilty?

13     A.   Yes, ma'am.

14     Q.   And are you making this guilty plea voluntarily and

15     on -- or these pleas voluntarily and on your own free will?

16     A.   Yes, ma'am.

17                 THE COURT:    Anything further that we need to

18     address as to the voluntariness?

19                 MR. SICOLI:    We don't have anything further, Your

20     Honor.

21                 THE COURT:    Okay.   Ms. Bates, anything further

22     that you would like me to cover before I ask Mr. Brantley

23     for his plea?

24                 MS. BATES:    No.   Thank you, Your Honor.

25     BY THE COURT:



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 1     Q.   Mr. Brantley, do you have any questions for me or for

 2     Mr. Sicoli before I ask for your plea?

 3     A.   No, ma'am.

 4     Q.   You understand your constitutional rights?

 5     A.   Yes, I do.

 6     Q.   And you also knowingly and intelligently and voluntarily

 7     give up those rights?

 8     A.   Yes, I do.

 9     Q.   Then I will ask you, Samuel Lamar Brantley, how do you

10     plead to Count 1 of the Indictment, which alleges that you

11     committed the crime of armed bank robbery, in violation of

12     Title 18, United States Code, Sections 2113(a) and 2113(d),

13     do you plead guilty or not guilty?

14     A.   Guilty.

15     Q.   And, Mr. Brantley, how do you plead to Count 2 of the

16     Indictment, which alleges that you committed the crime of

17     armed bank robbery, in violation of Title 18, United States

18     Code, Sections 2113(a) and 2113(d), do you plead guilty or

19     not guilty?

20     A.   Guilty.

21     Q.   As to Count 3, Mr. Brantley, that count alleging that

22     you committed the crime of carrying a firearm during and in

23     relation to a crime of violence, in violation of Title 18,

24     United States Code, Section 924(c)(1)(A)(ii), how do you

25     plead, guilty or not guilty?



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 1     A.   Guilty.

 2     Q.   And, Mr. Brantley, how do you plead to Count 5 of the

 3     Indictment, which alleges that you committed the crime of

 4     conspiracy to commit bank robbery, in violation of Title 18,

 5     United States Code, Sections 2113(a), 2113(d), and 371, do

 6     you plead guilty or not guilty?

 7     A.   Guilty, Your Honor.

 8     Q.   Okay.   And, Mr. Brantley, how do you plead to Count 7

 9     of the Indictment, which alleges that you committed the

10     crime of disposing of a firearm to a felon, in violation of

11     Title 18, United States Code, Sections 922(d)(1) and

12     924(a)(2), do you plead guilty or not guilty?

13     A.   Guilty, Your Honor.

14                  THE COURT:   So based on the record in this case, I

15     find that the defendant, Samuel Lamar Brantley, is mentally

16     competent and capable of entering an informed plea.

17                  I find that Mr. Brantley understands the nature of

18     the charges against him, the nature of these proceedings,

19     and the consequences of his guilty pleas.

20                  I find that Mr. Brantley has made his guilty pleas

21     in a manner that is free, that's voluntary, that's knowing

22     and informed.

23                  And I find that his pleas of guilty are supported

24     by independent facts in the record establishing all of the

25     elements of the offenses listed in Counts 1, 2, 3, 5, and 7



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 1     of the Indictment.

 2                 So, Mr. Brantley, I accept your guilty pleas and I

 3     adjudge you guilty of each of the offenses to which you have

 4     pled guilty as a matter of law.

 5                 So, Mr. Brantley, I want to review with you now

 6     what will happen next.

 7                 The probation officer will conduct an

 8     investigation and that probation officer will prepare a

 9     report that helps me determine what your sentence should be,

10     and the probation officer will interview you as part of that

11     investigation and you will be required to give information

12     for that report.     Now, Mr. Sicoli, your attorney, certainly

13     may be present with you when you're interviewed.

14                 After the report is prepared, you'll have a chance

15     to read the report and to review the report and to discuss

16     the report with Mr. Sicoli, your attorney, and if there's

17     anything in that report that you think is incorrect or that

18     you think is unfair or if you believe that there's been

19     something left out of the report that you want me to know,

20     you will have the chance to file objections to the report.

21                 And before I decide on your sentence, I will read

22     not only the report, but I will also review any objections

23     that you or the government have made, as well as any other

24     papers that you and the government have submitted.

25                 We will then have a sentencing hearing, and that's



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 1     where I will impose your sentence.        But before I impose that

 2     sentence, I will give both you and your attorney,

 3     Mr. Sicoli, an opportunity to speak at that hearing, and the

 4     United States will also have an opportunity to speak and be

 5     heard.

 6                 Do you understand how we will move forward from

 7     here, Mr. Brantley?

 8                 THE DEFENDANT:    Yes, ma'am.    You mentioned

 9     something about papers.      Can you -- you said, "papers."

10     What type of papers?

11                 THE COURT:    I'm thinking of all of the materials

12     that will be prepared for the Presentence Investigation

13     Report.    So you will have an opportunity -- that will be a

14     written report and you will have the opportunity to review

15     that.

16                 THE DEFENDANT:    Oh, okay.

17                 THE COURT:    Mr. Brantley is currently in custody

18     and the Mandatory Detention Act does apply.

19                 Is there anything further from counsel at this

20     time?

21                 MS. BATES:    Not from the United States, Your

22     Honor.

23                 MR. SICOLI:    No, Your Honor.    Thank you.

24                 THE COURT:    Okay.   So, Mr. Brantley, you are

25     remanded to the custody of the United States Marshal at the



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 1     conclusion of this hearing.

 2                 You will be informed of the date of your

 3     sentencing hearing.      The law requires that you attend your

 4     sentencing hearing, and the failure to appear at your

 5     sentencing hearing is itself a crime that you could be

 6     prosecuted for if you fail to appear.        Do you understand

 7     that?

 8                 THE DEFENDANT:    Yes, ma'am.

 9                 THE COURT:    Okay.    I have one additional matter

10     that we need to address and that is a housekeeping matter or

11     a courtroom keeping matter, and that is I will ask that

12     everyone clean up using the disinfectants and other cleaning

13     materials and solutions that are at counsel table before you

14     leave the courtroom today.        So use that to disinfect your

15     area and, Mr. Sicoli, the area that's occupied by

16     Mr. Brantley as well and certainly all of the area that the

17     United States is occupying needs to be cleaned before you

18     all leave the courtroom.

19                 I'm looking to see if handsets were used.          If

20     handsets -- I'm sorry.      If headsets were used, please clean

21     those as well, and the supplies and the instructions for you

22     are at your counsel table.

23                 Is there anything further that we need to address

24     at this time on this matter?

25                 MR. SICOLI:    No, Your Honor.    Thank you.



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 1                 MS. BATES:    No, Your Honor.    Thank you.

 2                 THE COURT:    Okay.   So this concludes our hearing.

 3     Thank you, Counsel.      And good luck to you, Mr. Brantley.

 4                 THE DEFENDANT:     Thank you.

 5          (Court adjourned at 10:24 a.m.)

 6                                *      *     *

 7

 8

 9                I, Lori A. Simpson, certify that the foregoing is a

10     correct transcript from the record of proceedings in the

11     above-entitled matter.

12

13                     Certified by:     s/ Lori A. Simpson

14                                       Lori A. Simpson, RMR-CRR

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